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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

CRAIG LAMONT RUCKER,
Inmate No. X13105,
      Plaintiff,

vs.                                              Case No.: 3:19cv3514/RV/EMT

SERGEANT DAVIDSON,
     Defendant.
__________________________/

                                     ORDER

      The chief magistrate judge issued a Report and Recommendation on

September 8, 2020 (ECF No. 26). The parties were furnished a copy of the Report

and Recommendation and afforded an opportunity to file objections pursuant to Title

28, United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined the

Report and Recommendation should be adopted.

      Accordingly, it is ORDERED:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No.

26) is adopted and incorporated by reference in this order.

      2.     This case is DISMISSED WITHOUT PREJUDICE as malicious

pursuant to 28 U.S.C. § 1915(e)(2)(B)(i).
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       3.     The defendant’s motion for extension of time to complete discovery

(doc. 29) is DENIED, as moot.

       3.     The clerk of court shall enter judgment accordingly and close this case.

       DONE AND ORDERED this 6th day of November, 2020.



                                 /s/ Roger Vinson
                                 ROGER VINSON
                                 SENIOR UNITED STATES DISTRICT JUDGE




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